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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

     JENNIFER DEL PRETE,                          )
                                                  )
               Plaintiff,                         )
                                                  )     No. 17-cv-6145
                             v.                   )
                                                  )     Magistrate Judge Keri L. Holleb Hotaling
     VILLAGE OF ROMEOVILLE, ILLINOIS,             )
     KENNETH KROLL, SCOTT                         )
     MCLAUGHLIN, UNKNOWN OFFICERS                 )
     OF ROMEOVILLE POLICE                         )
     DEPARTMENT, and DR. EMALEE                   )
     FLAHERTY,                                    )
                                                  )
                Defendants.                       )

                            MEMORANDUM OPINION AND ORDER

        Before the Court is Plaintiff’s partially opposed motion for entry of a HIPAA and mental

health protective order [Dkt. 152]. For the reasons set forth below, the Court grants Plaintiff’s

motion, with the modifications indicated.

I.      BACKGROUND

        Despite its almost eight-year age, this case has made very little substantive progress,

because of necessary long-term stays for ongoing state-court criminal proceedings. Plaintiff

alleges she was wrongfully convicted of having murdered an infant in her care and spent nearly

ten years in prison as a result, causing her children to grow up largely without her and her to miss

out on “the various pleasures of basic human experience” throughout her incarceration. (Dkt. 1

¶¶ 63, 64.) She alleges “substantial” and “incalculable” emotional pain and suffering from the

publicity and nature of the charges against her, which caused “stigma, . . . fear[,] and distress

during her nearly decade-long detention” and ongoing “feelings of nervousness, fear, distress, and

worry about the future.” (Id. ¶¶ 63, 64.) Among other claims, Plaintiff brings a state-law claim for

intentional infliction of emotion distress, in which she asserts Defendants acted with the intent to
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cause or reckless disregard of the probability of causing Plaintiff “severe emotional distress” and

that Plaintiff in fact endured and continues to endure “emotional distress and other grievous and

continuing injuries and damages[.]” (Id. ¶¶ 99-100.)

        The parties have reached an impasse on a proposed protective order covering Plaintiff’s

mental health records. Although the parties generally agree upon entry of a HIPAA protective

order, Plaintiffs seek to include, over Defendants’ objection, a provision requiring “that potentially

privileged mental-health documents subpoenaed by [any party be] returned to [] Plaintiff” for a

“privilege review[,]” solely for the psychotherapist-patient privilege, to be completed within seven

days of Plaintiff’s receipt of the documents. (Dkt. 152 at 3, 6-8.) Plaintiff insists it is “unlikely”

that privilege would be asserted over any document, and she would create a corresponding

privilege log for any claims of privilege. (Id. at 2, 5.) Plaintiff envisions the Court then “resolv[ing

any resulting] dispute with a concrete set of documents in mind.” (Id. at 4.) Defendants insist

Plaintiff has already categorically waived the psychotherapist-patient privilege by placing her

mental health at issue through her allegations of her injuries and note that a temporal limitation

would sufficiently prevent overreaching subpoena requests; they also raise concerns that Plaintiff

will cherry-pick records and wield the privilege as both a sword and shield. (Dkt. 152 at 2-3.) The

motion is fully briefed, and the Court heard arguments on the motion at an in-person hearing on

May 8, 2025.

II.     DISCUSSION

        Despite the depth of law about what constitutes waiver of the psychotherapist-patient

privilege, it is surprisingly unsettled. Following Jaffee v. Redmond, 518 U.S. 1, 15 & n.14 (1996),

in which the Supreme Court held that psychotherapist privilege protects confidential

communications between a patient and psychotherapist absent the patient’s waiver of the privilege,

federal courts nationally and even “[c]ourts in the Seventh Circuit have developed” “divergent”

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and “inconsistent approaches to determin[ing] when and how a patient waives the privilege.”

Johnson v. Guevara, No. 20-cv-4156, 2021 WL 12298819, at *1 (N.D. Ill. Aug. 2, 2021) (citations

omitted); Caine v. Burge, No. 11-cv-8996, 2012 WL 6720597, at *2 (N.D. Ill. Dec. 27, 2012)

(citations omitted). Although “numerous judges in this district have analyzed this issue,” they also

have reached “no consensus as to what the Seventh Circuit truly meant with” its only “brief

statement” on the issue that, “[i]f a plaintiff by seeking damages for emotional distress places his

or her psychological state in issue, the defendant is entitled to discover any records of that state.”

Coleman v. City of Chi., No. 18-cv-998, 2019 WL 7049918, at *1 (N.D. Ill. Dec. 23, 2019) (quoting

Doe v. Oberweis Dairy, 456 F.3d 704, 718 (7th Cir. 2006)). Three approaches, termed the

“narrow”, “broad,” and “middle ground,” have emerged. See id. (citing cases). Under the “narrow”

approach, a patient waives the privilege only by placing the substance of psychotherapeutic

communications directly at issue or seeking testimony from the therapist. See id. (citing Taylor v.

Chi., No. 14-cv-737, 2016 WL 5404603, at *2 (N.D. Ill. Sept. 28, 2016)). The “broad” approach

deems the privilege waived if a party seeks emotional distress damages. See id. (citing Laudicina

v. City of Crystal Lake, 328 F.R.D. 510, 513 (N.D. 2018)). The “middle ground” approach finds

no waiver with “garden variety” emotional distress claims that include no “separate tort” claim for

the distress or allegations of any specific psychiatric injury, disorder, or unusually severe distress

but finds waiver where the party plans to introduce at trial evidence of psychological treatment to

show damages. See id. (citing Flowers v. Owens, 274 F.R.D. 218, 225 (N.D. Ill. 2011)); Caine,

2012 WL 6720597, at *2-3 (citations omitted). “‘Garden variety emotional distress’ includes

humiliation, embarrassment, and” similar emotions but not “any resulting symptoms or

conditions” such as “sleeplessness, nervousness, and depression.” Iglesias v. Guevara, No. 19-cv-

6508, 2021 WL 12334555, at *3 (N.D. Ill. June 30, 2021) (cleaned up).



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       Like the court in Johnson, 2021 WL 12298819, at *2, the Court finds the question of

whether Plaintiff has waived the psychotherapist-patient privilege to be prematurely presented in

this case, which has barely passed the pleadings stage. Although some of the Court’s esteemed

peers have deemed allegations like Plaintiff’s to constitute a categorical waiver of the

psychotherapist-patient privilege, see, e.g., Iglesias, 2021 WL 12334555, at *3; Liebich v.

Delgiudice, 20-cv-2368 (N.D. Ill.) (Dkt. 99, Order of Feb. 12, 2021); Jakes v. Boudreau, No. 19-

cv-2204, 2020 WL 5297007, at *2 (N.D. Ill. Sept. 4, 2020), others have based their decisions upon

case developments beyond the pleadings, see Coleman, 2019 WL 7049918 (“Coleman’s pleadings,

interrogatory responses, and document productions demonstrate that there has already been a

waiver of the psychotherapist-patient privilege in this case, no matter which approach is applied.”),

or have entered orders with procedures akin to those proposed here. See, e.g., Martinez v. Guevera,

No. 23-cv-1741 (N.D. Ill.) (Dkt. 114, order of Dec. 11, 2023); Johnson, 2021 WL 12298819, at

*2 (indicating that court would decide waiver issue if and when plaintiff asserted privilege after

reviewing documents); Caine, 2012 WL 6720597, at *4 (adopting plaintiff’s suggestion to permit

plaintiff’s counsel to review mental health records before turning them over to defense counsel).

The Court agrees with the latter approach and will adopt Plaintiff’s proposed procedure, modified

only slightly as explained below.

       Although Defendants argue that Plaintiff’s proposed procedure will cause delays in

discovery and impose potential burdens upon them to ensure that subpoena recipients comply with

the procedure, in the Court’s estimation, any delay and any imposition upon Defendants will be

minimal, particularly because the ensuing HIPAA order will direct compliance with the procedure

and timeline. Nor does the Court see any real concern that Plaintiff inappropriately will “cherry-

pick” records, given potential downsides to Plaintiff invoking the privilege. That said, the Court

agrees with Defendants that Plaintiff’s proposed procedure should apply only to mental health

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records, not other medical records. Also, as discussed during the motion hearing, unless the parties

agree or the Court directs otherwise, the Court sets a temporal limit of five (5) years before

Plaintiff’s arrest on the medical and mental-health records. See Jakes, 2020 WL 5297007, at *4.

         Finally, Plaintiff realistically posits that she is unlikely to invoke the privilege, given the

incentives to avoid invoking it. The Court will address any invocation of privilege if and when it

is brought to the Court’s attention. But, like the Caine court, the Court is skeptical that Plaintiff

properly could maintain the psychotherapist-patient privilege if she wants to introduce testimony

about “the specifics of emotional damages” or to “argue that they [are] uncommon, or severe.”

2012 WL 6720597, at *4.

III.     CONCLUSION

         Plaintiff’s motion for entry of HIPAA and Mental Health Protective Order [Dkt. 152] is

granted, with the modifications and for the reasons set forth above. By May 16, 2025, the parties

shall confer and submit a proposed order that comports with the above to Judge Holleb Hotaling’s

Proposed Order email, Proposed_Order_HollebHotaling@ilnd.uscourts.gov. The joint status

report date of June 23, 2025 [Dkt. 157] stands.


ENTERED: May 13, 2025                           ___________________________________
                                                Hon. Keri L. Holleb Hotaling
                                                United States Magistrate Judge




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